Case 6:21-cv-00468-MK   Document 1-2   Filed 03/29/21   Page 1 of 2




           EXHIBIT A
Case 6:21-cv-00468-MK                                 Document 1-2                           Filed 03/29/21                        Page 2 of 2




    •• ,. Mem bers h.1p App 1·1cat1on::c
    LOCAL�                        .        t'3(:{:{)
                                        E 1vEo
•      au•                  SEIU Lo�al 503, OPEU POBox12159SalemOR97309-0159 l•\.I 07 Z009
    S
    ...
    Slton9ff Tog-
                            (Please pnnt or type clearly.)                                                   ,\1,\0

    SOCIALSECURllY NUMBER: -- BIRTH DATE:
                                                                                                             �
                                                                                                                NONT)I
                                                                                                                             �AB
                                                                                                                             Ill.. -��
    EMPLOYEE l.0.#: _________ HOME E·MAIL:                                                     11                         5
    NAME:     s:toL\ "Tft.e.s                                            HOME PHONE: -'----
    Res,DENCEADoRess:
       (IUQUIRCO)
                                       ��b.Q-____
                                       SlllftT crrr
                                                    ffi__..___
                                                      Sl'Alli
                                                              9_7_7_t)--'I�
                                                               l'#
    MAILING ADDRESS: ------=s=-m=-==----------,�--------="'AT"'E---=z,.=---
                                                                                                                              st


                                                                                                    '"'Tas 1::>\;;:.\J'.1-\-(.bec
                                                       ET                                        rrr


    EMPLOYER/AGENCY:                   Ot:>ci\                                    JosmLe:
    woRKAooREsses:               ta�s    srnm
                                                    t-J     µwµ G17
                                                                 �
                                                                                      Bead
                                                                                      CITY
                                                                                                               oP-.   q77-o\
                                                                                                                     STAlE
                                                                                                                         ZIP

    WORK EMAIL: _________ WORK PHONE & EXT:                                                               � l Sf'!J - 01 l.f
    FAC1uTY1LOCAr10N:             ot>or IBMcl.                   HIREDATE: ��� -                          2t?,?°l SHIFT: ____
    I desire to be reptes,nt<cl bySEIU Local 503, OPfUand he,-bydeslgnat• SEIU Leal 50.). Ol'EU osmy bargaining agent fo, al mottffl pem,lnl09 tocolle<1,...
    batgalnlng. I request m, emp!.Qljer to deduct from my w"1,y, w•ges, 0r other sums due me by vlnut' of my empbpnent. the amount of my dues for
    member,l\lp In SEIU local 503,0l'EU ., provided In It, 8ylawL •nddl<bu"•"= to SEIU Local 503,0PEU, unlm nodlie<l bymein •«Oldonce with eny



•
    union s«.urily 391"e.tnent in etrtct.
    Tht SEIU local 503, OPEU Bylaws (Art. XIV. Soc. 9) plOYlde fot • conttibwon as deto,mined irom time to Ume by tho mombef·eloctod Genenl CouncH for
    tl>e bene11t or the Union'< poll1iul IC!ion program. You moy opIto �--ll�HOntribullon 90 to the SEIU local SO), OPEU Schc411$hip Fund ins- or tht
    political •dion p,og,am by checking th• box ,t tho right □
                    .Voluntary SEIU Local 503, OPEU Political Adion. Check"'.()ff - ·. ..
                                          Citizen Action for Political Education (CAPE)
          0 $5.00/month O $ 10.00/month OS 15.00/month O $ ____ (other)
     lhls c:ont,lbutlon qualifies for lhe OrttOII Polltlcal lax Ctedlt.
     Slnglefllen are •ligibleforacntdltof upto $50peryHr;Jolnt fll.,s upto $10011<1ryear.
     • I.. ,n,�"'I' E"""')tf to dtoud thed-1t•llttd ......nc hm'"1           "'°"""'........
                                                                            ff 1 -tlonto SW Loaot,o:J, �CAN.' M, .-     , .,
      ,,_.,.,offi...,
      �.-...1c1.. _rt,..,..__c■.-i.s1ndfwup1lldltoresln«H1MCtlo•-tl-•lorlNll,..........,�Md
                l!,esoeleaedollklolsllltktcrid<Aldedsloouon"'llrtes.ll�rt11-•odoe1itrbefttftls-llWl�lal!MM:iN.Offll
       ..-.... A�Oftl!luolllrtoullofll1u..dl•-lorU.•--.cohll-llll1blu,e,lb1st111fofftdtteltlectl-TIIIICIO ......llonls- ..
      doduellblebfnwal�tu-                                                          '         ·
                                                                                                                      -             .       •        .
     lhe<ofllrlbutloA..,O<Jlll•!lldic1W<11b-1reonly1w,donuodl-dlff1tnottou,n�or10Vlf'/ln)'aintr!Mlon•m°"!fflwll1>oul
                        .          '                                                                                                .


     ropriMlfraa myUnlono,my'&olp�r. As pork<ltrallow, o.a, unloni,,-on •rid union .......l.-elld,.,nhtr11h<1 Nflwt,om!l5. chtun,
     orl•---1 .. lidt11t1•....lllblotc>C011t�htttoSlilUC09Efchtf..S.,1IC-•lttoe••PolltlcelU�. Thil-orlullonlso,llk
     volun1..tlyaadlsnat•-rllllaaotmyemplo-tor111"""rslllplntliounlor1. 'l!l!s1111hori�ionsilalll'lffliln:),�.mll,.,,....lnwrit!n9by
     rM. '11111 -.lbution Is In lddldon to union dwts.                                                                     _ ;
                                                                                                                     •




                                                                                                                     *MAP1004780*




                                                                                                                                                     I -Exhibit A
